
206 Mich. App. 26 (1994)
520 N.W.2d 667
COLOVOS
v.
DEPARTMENT OF TRANSPORTATION
Docket No. 134013.
Michigan Court of Appeals.
June 20, 1994.
The Judges of this Court having been polled pursuant to Administrative Order No. 1994-4, and the result of the poll being that fourteen Judges opposed convening a special panel, nine were in favor, and one abstained, it is ordered that a special panel shall not be convened.
It is the recommendation of this Court that the Supreme Court accept an application for leave in this matter, to be held in abeyance together with Pick v Gratiot Co Road Comm, 203 Mich 138; 511 NW2d 694 (1993), pending the Supreme Court's decision in Mason v Wayne Co Bd of Comm'rs, Supreme Court Docket No. 94911, lv gtd 442 Mich 924 (1993).
